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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION
STEPHANIE RISTOW,                 §
     Plaintiff,                   §
                                  §
v.                                §
                                  §
TEXAS LAUREL RIDGE HOSPITAL L.P. §              Civil Action No. 5:19-cv-1469
UHS OF DELAWARE, INC. DBA         §
UNIVERSAL HEALTH SERVICES OF      §
DELAWARE, INC., AND RODNEY        §
NORMAN,                           §
     Defendant.                   §


                                        JOINT ADR REPORT


The parties jointly submit this Alternative Dispute Resolution (“ADR”) Report:

          1.       The parties have conferred regarding the alternative dispute resolution procedures

available in the Western District of Texas.

          2.       Settlement Offer and Response.

          The parties have complied with the deadlines for submitting a written settlement offer and

a written response set forth in the Scheduling Order.

          3.       Person Responsible for Settlement Negotiations

          Plaintiff and her counsel, Allison S. Hartry and Melissa Morales Fletcher, will be

responsible for settlement negotiations on Plaintiff’s behalf. Defendants and their counsel, Tracy

Graves Wolf and Brent Sedge, will be responsible for settlement negotiations on Defendants’

behalf.

          4.       Alternative Dispute Resolution in this Action

          The parties recognize ADR methods approved by this Court but feel that at this time ADR

is premature. Mediation may be appropriate at a later stage in these proceedings following
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additional discovery. In the event that mediation is deemed appropriate, the parties will agree to

one of the following alternative dispute resolution providers based on availability at the time that

the parties agree to a date for mediation or, if necessary to agree to another private mediator with

expertise in employment discrimination laws:

       Malinda Gaul
       315 E Euclid Ave
       San Antonio, TX 78212-4709
       210-225-0685

       Michael Holland
       1250 NE Interstate 410 Loop
       San Antonio, TX 78209
       (210) 824-8282

       Eric Galton
       Lakeside Mediation Center
       3825 Lake Austin Blvd # 403
       Austin, TX 78703


Respectfully submitted,

 /s/ Allison Sarah Hartry                           /s/ Tracy Graves Wolf
 Melissa Morales Fletcher                          Tracy Graves Wolf
 State Bar No. 24007702                            Texas Bar No. 24004994
 Melissa@themoralesfirm.com                        Tracy.Wolf@lewisbrisbois.com
 Allison Sarah Hartry                              Brent Sedge
 State Bar No. 24083149                            Texas Bar No. 24082120
 ahartry@themoralesfirm.com                        Brent.Sedge@lewisbrisbois.com
 THE MORALES FIRM, P.C.                            LEWIS BRISBOIS BISGAARD & SMITH, LLP
 6243 Interstate 10 West, Suite 132                2100 Ross Avenue, Suite 2000
 San Antonio, Texas 78201                          Dallas, TX 75201
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 ATTORNEYS FOR PLAINTIFF                           ATTORNEYS FOR DEFENDANTS
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                                     Certificate of Service

        I certify that a true and correct copy of the foregoing document was served on all counsel
of record in accordance with the Federal Rules of Civil Procedure on August 12, 2020:

                                                    /s/ Allison Sarah Hartry
                                                    Allison Sarah Hartry
